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                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH

CRIMINAL PRODUCTIONS, INC.,                           Civil Action No. 2:17-cv-00550-DBP

                Defendant,                              Magistrate Judge Dustin B. Pead

       vs.
                                                     PLAINTIFF’S MOTION TO DISMISS
DOES 1- 32,                                              THE COUNTERCLAIM OF
                                                           DOE 15 IP 70.57.92.179
                Defendants.                                DARREN BRINKLEY
                                                      FOR LACK OF SUBJECT MATTER
                                                             JURISDICTION



       Plaintiff, Criminal Productions, Inc., by and through its attorney, pursuant to FRCP

12(b)(1), seeks dismissal of Defendant’s counterclaim of Declaratory Judgment of Non-

infringement.

       I.       INTRODUCTION

       A. Concise Statement of Facts

       Defendant’s declaratory judgment of noninfringement counterclaim is unnecessary

because it merely restates his denial of Plaintiff’s copyright infringement claim. Numerous

courts have dismissed such counterclaims that are, in truth, answers or defenses since they are

not independent pieces of litigation. Because Plaintiff has already filed a motion to voluntarily

dismiss its infringement claim and has also given Defendant an unequivocal covenant not to sue
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Defendant for the copyright infringement that is the subject of the instant lawsuit, Defendant’s

counterclaim lacks subject matter jurisdiction.

       B. Relief Requested

       The Court should dismiss Counter-Plaintiff’s claim for declaratory judgment of

noninfringement.

       II.     LEGAL STANDARD

       Federal district courts are courts of limited jurisdiction. Finley v. United States, 490 U.S.

545, 547-48, 109 S. Ct. 2003, 104 L. Ed. 2d 593 (1989). “Article III of the United States

Constitution strictly circumscribes federal court jurisdiction to cases or controversies.” Nat'l

Cable TV Coop. v. Lafayette City-Parish Consol. Gov't of Lafayette, No. 10-2254-KHV-DJW,

2010 U.S. Dist. LEXIS 124387, at *10-11 (D. Kan. Nov. 23, 2010), citing U.S. Const. art. III §

2, cl. 1. “[C]laims for declaratory judgment are authorized by the Declaratory Judgment Act, 28

U.S.C. § 2201 (“DJA”), which incorporates the Article III case-or-controversy requirement.”

Nat'l Cable TV Coop. v. Lafayette City-Parish Consol. Gov't of Lafayette, No. 10-2254-KHV-

DJW, 2010 U.S. Dist. LEXIS 124387, at *10 (D. Kan. Nov. 23, 2010).

       To survive a motion to dismiss, a party seeking a declaratory judgment must overcome

two separate hurdles. Surefoot LC v. Sure Foot Corp., 531 F.3d 1236, 1240 (10th Cir. 2008).

First, “a declaratory judgment plaintiff must present the court with a suit based on an actual

controversy, a requirement the Supreme Court has repeatedly equated to the Constitution’s case-

or-controversy requirement.” Surefoot LC v. Sure Foot Corp., 531 F.3d 1236, 1240 (10th Cir.

2008). “Second, even where a constitutionally cognizable controversy exists, the Act stipulates

only that district courts may […] make a declaration on the merits of that controversy[.]”

Surefoot LC v. Sure Foot Corp., 531 F.3d 1236, 1240 (10th Cir. 2008).




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       III.   FACTUAL BACKGROUND

       Defendant, Mr. Brinkley, filed his counterclaim of declaratory judgment of

noninfringement in response to Plaintiff’s copyright infringement claim. Criminal Productions is

the owner of right title and interest in United States Copyright Reg. No. 1-984-029 for the

motion picture titled Criminal. See Complaint, ECF 2.

       In 2017, Criminal Productions observed its movie Criminal being copied and distributed

without authorization by a computer device using IP address 70.57.92.179 within a BitTorrent

swarm. The Internet Service Provider identified Darren Brinkley as the subscriber assigned IP

address 70.57.92.179 during a date and time of recorded infringement. Criminal Productions,

through counsel, communicated with Mr. Brinkley inn 2017 advising him of infringing activity

over his Internet service. Plaintiff subsequently served the Complaint against Defendant alleging

copyright infringement of its work over the BitTorrent network. Defendant countersued seeking

a declaratory judgment of noninfringement.

       Thereafter, Defendant commenced unreasonable and unnecessary multiplication of

proceedings. Indeed, in 2017 Criminal Productions granted Defendant an open-ended extension

to file an Answer and a covenant that it would not seek a default judgment while the parties

attempted to resolve the matter. Since Defendant denied infringement and claimed that another

was the true infringer, Plaintiff only sought the identity of the other person and a simple sworn

declaration wherein Mr. Brinkley stated his belief that another was the infringer. Plaintiff

guaranteed that if the above information could be provided, it would immediately dismiss

Defendant from this case.




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       Rather than provide any of the above information and keep litigation costs down, Defense

counsel unreasonably and unnecessarily multiplied the proceedings by filing an Answer, forcing

a Rule 16 conference and drafting a 26(f) discovery plan, and by propounding discovery on

Plaintiff and by seeking third party discovery via subpoena. In short, Criminal Productions

sought to avoid fees, costs and expenses by identifying the true infringer. Defendant concealed

and continued to conceal potential infringers until after filing his Answer and commencing

needless discovery.

       Indeed, Mr. Brinkley finally revealed the identity of another person when he disclosed his

roommate’s identity in his Initial Disclosures on March 16, 2018. After receiving the March 16,

2018 disclosure and investigating Defendant’s roommate, Plaintiff was of the position that

discovery may likely show that Defendant’s roommate was the infringing user of IP

70.57.92.179. Indeed, there is a correlation between the roomate’s publicly declared interests in

social media and the content listed in MaverickEye’s additional evidence.

       As such, Plaintiff now has reason to believe that Defendant Brinkley is not the infringer.

In light of the foregoing, Plaintiff drafted an exculpatory declaration for Mr. Brinkley. 1

However, Mr. Brinkley has not signed the declaration or any other exculpatory declaration to

date. Criminal Productions does not wish to litigate this matter against Mr. Brinkley.

Accordingly, Criminal Productions filed a motion to dismiss its copyright infringement claim

with prejudice.

       IV.        ARGUMENTS

       A. Defendant’s Counterclaim Mirrors Plaintiff’s Copyright Infringement Claim

        “Numerous courts have […] [dismissed] counterclaims . . . where they are either the

‘mirror image’ of claims in the complaint or redundant of affirmative defenses.” Stickrath v.
       1
           Plaintiff’s counsel drafted the declaration to further avoid any expense to Defendant.


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Globalstar, Inc., No. C07-1941 TEH, 2008 U.S. Dist. LEXIS 95127, at *8 (N.D. Cal. May 13,

2008); see e.g. Tenneco Inc. v. Saxony Bar & Tube, Inc., 776 F.2d 1375, 1379 (7th Cir. 1985)

(“The label ‘counterclaim’ has no magic. What is really an answer or defense to a suit does not

become an independent piece of litigation because of its label.”); Rayman v. Peoples Sav. Corp.,

735 F. Supp. 842, 852 (N.D. Ill. 1990) (Court dismissed a counterclaim that mirrored an

affirmative defense because “[i]t adds nothing to the pleadings … already put before this

Court.”); Arista Records LLC v. Usenet.com., Inc., 2008 U.S. Dist. LEXIS 95514, at *10

(S.D.N.Y. Nov. 24, 2008) (dismissing counterclaims that “add nothing to the affirmative

defenses” and “do not present an independent case or controversy that would survive a dismissal

of Plaintiff’s infringement claim.”); Atl. Recording Corp. v. Serrano, No. 07-CV-1824 W (JMA),

2007 U.S. Dist. LEXIS 95203, at *11 (S.D. Cal. Dec. 27, 2007) (“Numerous courts have

dismissed declaratory relief counterclaims in electronic copyright infringement actions where the

question of whether defendant infringed plaintiff's rights will be decided by plaintiff's claim.”).

This is because, in those cases, “Defendant seeks no relief in his counterclaim other than that

which would have the opposite effect of the relief sought in the Complaint. As such, [the]

counterclaim is redundant and unnecessary.” Malibu Media, LLC v. Batz, Civil Action No. 12-

cv-01953-WYD-MEH, 2013 U.S. Dist. LEXIS 84709, at *10 (D. Colo. May 17, 2013).

       Here, Defendant’s counterclaim fails and must be dismissed as an inappropriate

“repackaging” of his initial denial of infringement. Specifically, Defendant’s counterclaim is

nothing more than a denial of infringement adding no other merits to this case.




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       B. Lacking Controversy This Court Lacks Subject Matter Jurisdiction over
          Defendant’s Declaratory Judgment of Non-Infringement Counterclaim

       In Defendant’s counterclaim, Mr. Brinkley seeks a declaratory judgment that he did not

infringe Plaintiff’s work through use of IP address 70.57.92.179 within the BitTorrent network.

However, the Court should dismiss Defendant’s declaratory judgment of non-infringement claim

because the Court lacks subject matter jurisdiction over the claim.

       “[C]laims for declaratory judgment are authorized by the Declaratory Judgment Act, 28

U.S.C. § 2201 (“DJA"”), which incorporates the Article III case-or-controversy requirement.”

Nat'l Cable TV Coop. v. Lafayette City-Parish Consol. Gov't of Lafayette, No. 10-2254-KHV-

DJW, 2010 U.S. Dist. LEXIS 124387, at *10 (D. Kan. Nov. 23, 2010). “It is well established that

what makes a declaratory judgment action ‘a proper judicial resolution of a ‘case or controversy’

rather than an advisory opinion--is [] the settling of some dispute which affects the behavior of

the defendant toward the plaintiff.” Cox v. Phelps Dodge Corp., 43 F.3d 1345, 1348 (10th Cir.

1994), quoting Hewitt v. Helms, 482 U.S. 755, 761, 107 S. Ct. 2672, 2676 (1987). “The crucial

question is whether granting a present determination of the issues offered will have some effect

in the real world.” Rio Grande Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1110

(10th Cir. 2010). And, “[w]ithout a case or controversy, the court lacks subject matter

jurisdiction.” Lindsey & Osborne P'ship, L.P. v. Day & Zimmerman, Inc., No. 08-2301-CM,

2009 U.S. Dist. LEXIS 13923, at *8 (D. Kan. Feb. 23, 2009).

       By motion filed earlier, Plaintiff seeks dismissal of its infringement claim with prejudice.

By dismissing its claim with prejudice, Criminal Productions is foregoing any claim with respect

to this infringement. The dismissal and proffered covenant not to sue2 foreclose Criminal




       2
           Ex. 1 hereto.


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Production's ability to bring a copyright suit against Defendant Brinkley for the alleged

infringement.

       The dismissal acts as an adjudication on the merits adverse to Criminal Productions on

that issue. See, e.g., Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1416 (Fed. Cir.

2004) ("The dismissal of a claim with prejudice ... is a judgment on the merits under the law of

the Federal Circuit.")3. “[T]he primary issue in this case [is][…] whether Defendant actually

downloaded, used, and/or distributed Plaintiffs’ copyrighted materials without authorization to

do so.” Interscope Records v. Kimmel, No. 3:07-cv-0108, 2007 U.S. Dist. LEXIS 43966, at *12

(N.D.N.Y. June 18, 2007). Accordingly, “[i]f Plaintiffs withdraw their claim [and it has], there

is no continuing threat lingering over Defendant […] [Therefore] […] there is no continuing case

or controversy.” Id. at *12. Here, “there is [simply] no reason to force [Criminal Productions] to

defend a claim by Defendant arguing that he did nothing wrong.” Id. at *14-15. Indeed,

“[c]ountenancing such a theory for entertaining Defendant's counterclaim would open the

floodgates to endless potential litigation by persons seeking a declaration that [their] activities do

not violate another’s rights.” Id. Accordingly, in this case, there is no longer a “substantial

controversy” between the parties of “sufficient immediacy and reality” sufficient to form the

basis for an Article III case or controversy. See MedImmune, Inc. v. Genentech, Inc,. 549 U.S.

118, 126 (2007).

       Further, to survive the instant motion to dismiss, Defendant must prove that the Court has

continuing jurisdiction to decide its counterclaim. Streck, Inc. v. Research & Diagnostic Sys.,

Inc., 665 F.3d 1269, 1282 (Fed. Cir. 2012) (“The party seeking a declaratory judgment must


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         Under the doctrine of res judicata, a judgment on the merits in a prior suit bars a secood suit involving the
       same parties or their privies based on the same cause of action. Parklane Hosiery Co, Inc. v. Shore, 439
       U.S. 322, 326, fn. 5 (1979).



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establish that jurisdiction ‘existed at the time the claim for declaratory relief was filed and that it

has continued since.’”) (quoting Benitec Aust/., Ltd. v. Nucleonics, Inc., 495 F.3d 13401 1343

(Fed. Cir. 2007)). Defendant cannot prove there is a continuing case or controversy as to its

noninfringement counterclaim because Criminal Productions no longer asserts (and cannot

reassert) it’s copyright infringement claim against Defendant Brinkley. See Streck, Inc., 665

F.3d at 1281-82 (holding that declaratory judgment counterclaims did not survive as to claims no

longer being asserted).

       Accordingly, Defendant’s declaratory judgment of non-infringement must be dismissed.

       C. CONCLUSION
       For the foregoing reasons, Plaintiff respectfully requests that this Court grant the instant

Motion to Dismiss the Counterclaim of Defendant Brinkley for Lack of Subject Matter

Jurisdiction.

       DATED this 7th day of May, 2018.

                                               DUREN IP


                                               By:     /s/Todd E. Zenger
                                                       Todd E. Zenger

                                                       Attorneys for Defendant
                                                       CRIMINAL PRODUCTIONS, INC.




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